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                                          UNITED STATES DISTRICT COURT                                 s:•,~_;--~          r
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                                       CENTRAL DISTRICT OF CALIFORNIA                                  CJ!"
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                                                                  CASE NUMBER:
UNITED STATES OF AMERICA                                                                               S'           N
                                                      PLAINTIFF     C 2 ~ ~7 ~ ~ a
                                                                                 ' ~LG
                  V.
                                                                        REPORT COMMENCING CRIMINAL
 C ~ Q~.•0~       CVO C VtiC~~                     DEFENDANT                           ACTION

TO: CLERK'S OFFICE, U.S. DISTRICT COURT                                                                             O ~ C~ ~~

All areas must be completed. Any area not applicable or unknown should indicate "N/A".

1• Date and time of arrest:           03~3~dG ~~                   (:H S            ❑ AM ~ PM

2. The above named defendant is currently hospitalized and cannot be -transported to court for arraignment or
   any other preliminary proceeding:           ❑Yes      ~No

3. Defendant is in U.S. Marshals Service lock-up (in this court building):             Yes     ❑ No

4. Charges under which defendant has been booked:

    ~C~ Vlc ~'~ r0.Ct,/ ~ C~     1 LL1Se s ~    In.'st~ ~~(}2✓~'~' ~ U        ~'t.9#!'; ~'~     1~.2'~~Gw~.,~ ~i e{C,t bu i Vt e

5. Offense charged is a:       ~ Felony         ❑Minor Offense          ❑Petty Offense         ❑Other Misdemeanor

6. Interpreter Required:       ~ No     Q Yes         Language:

7. Year of Birth:       ~ Q'60

8. Defendant has retained counsel:             ~'No
      Yes        Name:                                                     Phone Number:


9• Name of Pretrial Services Officer notified:         ~~E~ C <<        S✓k \'t Ll

10. Remarks (if any):


11. Name:        ~Q~;~~~;.,~ ~ ~ ems.}-~ S                   (please print)

12. Office Phone Number: d '
                           '3 a 6~ —                    ~~                     13• Agency:

14. Signature:           ~          ~                                          15• Date:     ~j'~ ~'3 l~.Z ~ l


CR-64(2/14)                                REPORT COMMENCING CRIMINAL ACTION
